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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS                                                       ENTERED
                                  HOUSTON DIVISION                                                            11/05/2020


                                                                )
In re:                                                          ) Chapter 11
                                                                )
TAILORED BRANDS, INC., et al.,1                                 ) Case No. 20-33900 (MI)
                                                                )
                                   Debtors.                     ) (Jointly Administered)
                                                                )

              JOINT STIPULATION AND AGREED ORDER APPOINTING
              MEDIATOR AND GOVERNING MEDIATION PROCEDURE


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”), the

Official Committee of Unsecured Creditors in these chapter 11 cases (the “Creditors

Committee”), and the Ad Hoc Group of Term Loan Lenders (the “Ad Hoc Group,” and together

with the Debtors and the Creditors Committee, each, a “Party,” and collectively, the “Parties”)

hereby enter into this stipulation and agreed order (this “Stipulation”) and agree as follows:

                                                 RECITALS

         A.      WHEREAS, on August 2, 2020 (“Petition Date”), the Debtors commenced these

chapter 11 cases by filing voluntary petitions for relief under chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern

District of Texas (the “Bankruptcy Court”).                 The Debtors’ chapter 11 cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to



1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at http://cases.primeclerk.com/TailoredBrands. The location of the Debtors’ service
    address in these chapter 11 cases is: 6100 Stevenson Boulevard, Fremont, California 94538.
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Bankruptcy Rule 1015(b) [Docket No. 41]. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code;

        B.         WHEREAS, on October 9, 2020 the Debtors filed the Debtors’ Fourth Amended

Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 844]

(as modified, amended, or supplemented from time to time, the “Plan”)2 and the related

Disclosure Statement for the Debtors’ Fourth Amended Joint Plan of Reorganization Pursuant to

Chapter 11 of the Bankruptcy Code [Docket No. 845] (as modified, amended, or supplemented

from time to time, the “Disclosure Statement”);

        C.         WHEREAS, on October 9, 2020 the Court entered the Order (A) Approving the

Disclosure Statement, (B) Establishing the Voting Record Date, Voting Deadline, and Other

Dates, (C) Approving Procedures for Soliciting, Receiving, and Tabulating Votes on the Plan,

and (D) Approving the Manner and Forms of Notice and Other Related Documents

[Docket No. 843] scheduling a hearing on November 10, 2020 at 1:30 p.m., prevailing Central

Time, for the Court to consider confirmation of the Plan (the “Confirmation Hearing”);

        D.         WHEREAS, the Parties each desire to attempt to negotiate a consensual

resolution    of     certain   issues    and     disputes    relating     to   the    total   enterprise   value

(the “Enterprise Value”) of the Debtors in advance of the Confirmation Hearing in the hopes of

reaching a consensual resolution of these chapter 11 cases; and

        E.         WHEREAS, the Parties believe that mediation may assist in such efforts.



2   Capitalized terms used but not defined herein have the meaning give to such terms in the Plan.




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                                             ORDER

       NOW, THEREFORE, in consideration of the foregoing recitals, which are incorporated

into this order (this “Order”), the Court hereby orders as follows:

       1.      The Court authorizes and appoints the Honorable David R. Jones, United States

Bankruptcy Judge for the Southern District of Texas, to serve as mediator (the “Mediator”) in

these chapter 11 cases and to conduct the mediation as set forth herein (the “Mediation”).

       2.      The Mediation shall be held on a date selected by Judge Jones. Judge Jones will be serving
       in his capacity as a United States Bankruptcy Judge, with all of the privileges and immunities
       attached to such service.

       3.      The Mediator is authorized to mediate any issues and disputes concerning the

Enterprise Value of the Debtors.

       4.      No later than November 6, 2020 at 5:00 p.m., prevailing Central Time, the

Debtors shall deliver to the Mediator the following documents: (a) the Plan; (b) the Disclosure

Statement and all exhibits thereto; (c) the Expert Report of James H. Baird, PJT Partners LP

dated as of October 19, 2020; (d) the Expert Report of The Michel-Shaked Group dated as of

October 19, 2020; (e) the Rebuttal Report of James H. Baird, PJT Partners LP dated as of

October 26, 2020; and (f) the Expert Rebuttal Report of The Michel-Shaked Group dated as of

October 26, 2020 (collectively, the “Background Documents”), with the representatives for the

other Parties included in such correspondence.

       5.      Each of the Parties may share a confidential summary document, not to exceed

three pages, expressing their views and arguments on the Enterprise Valuation of the Debtors

(each, a “Summary Report,” and together with the Background Documents, the “Permitted




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Materials”) by no later than November 6, 2020.       Each Summary Report shall only be provided

to the Mediator and shall not be shared with the other Parties.

       6.      No written materials or documents, other than the Permitted Materials, shall be

prepared by the Parties unless otherwise requested by the Mediator.

       7.      The results of the Mediation are non-binding upon the Parties.

       8.      There shall be an absolute mediation privilege, and all communications made by

a Party (a “Disclosing Party”) in connection with the Mediation, including discussions or

communications with or in the presence of the Mediator, shall be confidential, protected

from disclosure (and shall not be disclosed) to other Parties (except as such Disclosing Party

may agree) or to third parties (including holders of securities or claims for which the Party is

acting in a representative or trustee capacity to the extent such holders are not themselves

Parties), shall not constitute a waiver of any existing privileges and immunities, and shall not be

used for any purpose other than the Mediation (the “Absolute Mediation Privilege”).

Submissions by each Party (or any third party participant) to the Mediator, including

correspondence, offers or counteroffers made in connection with the mediation, shall not be

submitted to any other person or entity without the consent of the submitting Party (or any

submitting third party participant). Nothing herein shall restrict any Party from providing its

own Mediation submissions to any other Party. For the avoidance of doubt, the Parties shall not

disclose to any court, including in any pleading or other submission to any court, any such

discussions or communications made in connection with the Mediation, unless otherwise

available to such Party and not subject to a separate confidentiality agreement or protective

order which would prevent its disclosure. For the avoidance of doubt, and notwithstanding any



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separate confidentiality agreements or confidentiality provisions in relevant credit agreements

or indentures, all Parties participating in the Mediation shall comply with the terms of this Order

and maintain the Absolute Mediation Privilege.             The terms of this Order (as may be

supplemented or amended by further orders), and not any separate confidentiality agreement or

confidentiality provisions in relevant credit agreements or indentures, shall govern the

protection of communications or discussions in connection with the Mediation.

        9.      All settlement proposals, counterproposals, and offers of compromise made

during the Mediation (each, a “Settlement Proposal”) shall (a) remain confidential unless the

Party making such Settlement Proposal agrees to the disclosure of any such Settlement

Proposal, (b) be subject to protection under Rule 408 of the Federal Rules of Evidence, and

(c) shall not constitute material nonpublic information.

        10.     The Mediator shall be authorized to report to the Court on the good faith of any

or all of the Parties.

        11.     The Parties are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order.

        12.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



Signed: November
        October 17,05, 2020
                    2018
Dated: ___________, 2020
Houston, Texas                                       ____________________________________
                                                  UNITED  STATES BANKRUPTCY JUDGE
                                                                   Marvin Isgur
                                                         United States Bankruptcy Judge

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STIPULATED AND AGREED TO THIS [5]TH DAY OF NOVEMBER 2020:



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Co-Counsel to the Debtors and Debtors in        Co-Counsel to the Debtors and Debtors in
Possession                                      Possession



                                             -and-
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